                Case 2:17-mj-00562 Document 40 Filed 06/20/18 Page 1 of 2 PageID# 226

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  AO S9 (Rev. 08/09) Subpoena (aTcslify ata Hearing orTrial ina Criminal Case
                                                                                                                                 a J   Hid

                                       United States District Court
                                                                         for fhe

                                                          Eastern Distric ofViiginia

                    United States of America
                                  V.

                         Eric Brian Brown                                          Case No. 2:17mj562

                              Defendant


                      SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE


 To;
                     L(9(^AnI                                 MX>.
                     F^AC - 13utn1&(2-

         you ARE COMMANDED lo appear in (lie Unifed Slale.s di-slricl conrt al llie lime, dale, and place .shown
 below to testily in this crimmal case. When you an ive, you must remain at the court until the judge or a court ojBicer
 allows you to leave.
 PlaceofAppearance: Walter E. Hoffman                                              Couilioora No.;
                              United States Courtl^ouse
                              600 Granby Street, Norfolk, VA 23510
                                                                                   Date and Time: 06/21/2018 11:30 am

          You must also bring with you the following documents, electronicallystored information, or objects (blank ifnot
applicable):




         (SEAL)


Date:          06/12/2018 .
                                                                                   CLERK OF COURT / ")
                                                                                                       U
                                                                                                     in.!.,
                                                                                             Signature of Clerk or DeputyClerk



The name, address, e-mail, and telephone number of the attorney representing (name ofparty)                     United States of America
                                                   , whorequests thissubpoena, are:
Randy Stoker, Assistant United States Attorney
Office of the United States Attorney
8000 Worid Trade Center
101 West Main Street
Norfolk. Virginia 23510
(757)441-6331
              Case 2:17-mj-00562 Document 40 Filed 06/20/18 Page 2 of 2 PageID# 227



 AO 89 (Rov. 08/09)Subpoena to Testify at a Hearing orTrial in a Criminal Cose(Pngo 2)

 Case No. 2:17mj562

                                                               PROOF OF SERVICE


             This subpoena for (name ofindividualandll la, ifany) L.ft^O||f\ ^yOi(l()ti|j ^VA •
 was received by me on (date)             lo[ l<rS[lP>          •
          ef Iserved the subpoena by delivering acopy to the named persou as follows:                                        PfiYf, M\

                                                                                     oa (dale)                                    _;or

         O I retiiined tlie subpoena unexecuted because:



         Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, Thave also
         tendered to the witness fees tor one day's attendance, and (he mileage allowed by law, in the amount of
         $


My fees ai-e $                                  for travel and $                                 for services, for a total of $          q.OO


         r declare under penalty of perjury that diis information is true.
                                                                                           1




Date:     lall^llft            -
                                                                                                   Sen-er's signature



                                                                                                 Printed name ami title




                                                                    C\\d -HinhmiJ IS, ?>\)W , MC ^150^
                                                                                 J                  Sei-ver's addresx
                                                                                                    Seiyer's


Additional information regarding attempted service, etc:
